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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

IN RE:

YELLOW CORPORATION, et al,                           Chapter 11
                                                           Case No. 2:23-11069-CTG

         Debtor.                                     U.S. Holland LLC, 23-11079
                                                            Claim No. 15390
                                                     Yellow Corporation, 23-11069
                                                            Claim No. 15389
                                                     YRC, Inc., 23-11087
                                                            Claim No. 15391

                                                     (Jointly Administered)

                                                     Obj. Due: Jan. 15, 2024
                                                     Hearing Date: Jan. 22, 2024, at 2pm EST


                    CLAIMANT’S MOTION FOR RELIEF FROM STAY

         NOW COMES, Kevin Cook, by and through counsel, and pursuant to 11 U.S.C. §

362(d)(1), respectfully requests this Court lift the automatic stay for Claimant’s imminent

Washtenaw County, Michigan personal injury action.

         Claimant’s claim arises out of an automobile accident in the State of Michigan in April

2023. A lawsuit has not yet been filed due to this bankruptcy filing. The involved vehicle was

owned by YRC, Inc., and driven by Rickie Allen Oneil, believed to be an employee of YRC, Inc.,

U.S. Holland LLC, and/or Yellow Corporation. A copy of the relevant police report is attached as

Exhibit 1.

         YRC, Inc., U.S. Holland LLC, and Yellow Corporation are insured for its liability for the

accident and damages to Claimant. Claimant forgoes any claim to YRC, Inc., U.S. Holland LLC,

and/or Yellow Corporation’s assets and limits his recovery to the insurance policy.


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       “The Bankruptcy Code provides that the bankruptcy court may grant relief from the

automatic stay for cause.” In re Martin, 542 B.R. 199, 202 (B.A.P. 6th Cir. 2015) (citing 11 U.S.C.

§ 362(d)(1)). “The decision whether or not to lift the automatic stay resides within the sound

discretion of the bankruptcy court.” Id.

       The bankruptcy court “has no jurisdiction over proceedings that have no effect on the

debtor or its estate.” Landry v. Exxon Pipeline Co, 260 B.R. 769, 777 (Bankr. M.D. La. 2001)

(citing Celotex Corp v. Edwards, 514 U.S. 300, 308 n. 6 (1995)).

       It is established that “if a debtor does not have a direct interest in the proceeds of the

insurance policy,” then the insurance proceeds are not a part of the debtor’s estate, and “do not fall

within the scope of the automatic stay provision in 11 U.S.C. § 363(a)(3).” In re Youngstown

Osteopathic Hosp. Ass’n, 271 B.R. 544, 548 (Bankr. N.D. Oh. 2002). “In other words, when the

debtor has no legally cognizable claim to the insurance proceeds, those proceeds are not property

of the estate.” Landry, 260 B.R. at 786.

       In Landry, the court explained, “[i]n the liability insurance context the debtor has no

cognizable claim to the proceeds paid by an insurer on account of a covered claim. The proceeds

are paid to the victim of the insured’s wrongful act. The insured debtor cannot ask the insurance

company to pay him, or determine on its own how the proceeds of the policy should be distributed,

nor can any creditor of the insured seize the proceeds in satisfaction of a claim not falling within

the terms of the insurance contract.” Landry, 260 B.R. at 786.

       Here, the insurance proceeds from Debtors’ liability coverage are outside of the scope of

the automatic stay because the Debtors have no direct interest in the proceeds.

       Additionally, the law is settled that the filing of a bankruptcy petition does not eliminate

the liability of debtor’s automobile insurer and dictates that Mr. Cook may proceed against Debtors



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in litigation to purse recovery from Debtors’ insurers. For example, in the Sixth Circuit, “it is well

settled” that neither an automatic stay nor a permanent discharge injunction prevents suit against

the debtor “solely to determine liability in order to collect from the debtor’s insurer.” In re Rodgers,

266 B.R. 834 (Bankr. W.D. Tenn. 2001). See also Mauriello v. Great American E and S Ins Co.,

554 F. Appx. 382, 384 (6th Cir. 2014). In re Morris, 430 B.R. 824, 831 (Bankr. W.D. Tenn. 2010)

(“[T]he clear majority of cases in both the Sixth Circuit and elsewhere have found that § 524(e)

allows a creditor to proceed against the debtor as a nominal defendant in order to pursue recovery

from a third party.”).

       “This approach is grounded in the rationale that it makes no sense to allow an insurer to

escape coverage for injuries caused by its insured merely because the insured receives a bankruptcy

discharge.” Mauriello, 554 F. Appx. at 384. The Court recognized that parties “typically request

relief from the automatic stay to the extent of available insurance and proceed against the debtor

as a nominal defendant for the purpose of establishing the debtor’s liability.” Id.

       Here, Debtors do not have an interest in the insurance proceeds from the automobile

liability policy. Accordingly, the potential insurance proceeds from Debtors’ automobile insurance

policy are not part of the debtor’s estate, and do not fall within the scope of the automatic stay.

Landry, 260 B.R. at 777; In re Youngstown, 271 B.R. at 548. Therefore, this Court should grant

Claimant’s motion and lift the automatic stay as to his imminent lawsuit against Debtors.

       WHEREFORE, Claimant, Kevin Cook, respectfully requests this Court grant this Motion

for Relief from the Automatic Stay.

                                               Respectfully Submitted,



                                               /s/ Madeline M. Sinkovich



                                                   3
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                                            Madeline M. Sinkovich P-82846 1
                                            MIKE MORSE LAW FIRM
                                            24901 Northwestern Highway, Suite 700
                                            Southfield, Michigan 48075
                                            Madeline.sinkovich@855mikewins.com
                                            (248) 621-2245
Dated: January 4, 2024




1
 Claimant’s counsel is a Michigan attorney prosecuting claim litigation pursuant to Local Rule
9010-1(e)(iii).
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             EXHIBIT 1
                                                            Case 23-11069-CTG                                             Doc 1590                          Filed 01/04/24                                   Page 6 of 13
Authority: 1949 PA 300, Sec.257.622                                                                                       External #                          Crash ID                                                        Page 01 of 02
Compliance: Required        MSP UD-10E
Penalty: $100 and/or 90 days      (Rev 11/2020)
                                                                                                                         0348459                            2862989                                                           File Class 93001

                                                                                                                                                                                                                             Incident #
STATE OF MICHIGAN TRAFFIC CRASH REPORT                                                                                                                                                                                         12305323
  ORI                                                                                       Department Name                                                                                                                  Reviewer
             MI 4701200                                                                      MSP Brighton                                                                                                                      ROBERT CARTER
  Crash Date                                          Crash Time         No. of Units    Crash Type                              Special Circumstances                                                             Special Checks
                                                                                                                                     None                     Hit and Run               School Bus                     Fatal             Non-Traffic Area          ORV/Snowmobile
             04/15/2023                                10:00              03              Rear End                                   Fleeing Police           Unknown                   Animal
  County                                                    Traffic Control                                          Relation to Roadway                            Weather                                      Area
             81 - Washtenaw                                  None                                                     On the Road                                    Cloudy                                       FRWY Curved Roadway
  City/Twsp                                                 Contributing Circumstances                                                                  Light                             Road Surface Condition                          Total Lanes      Speed Limit   Posted
                                                                   1st                                       2nd
             19 - York Twp                                                                                                                                  Daylight                          Dry                                          02               70            Yes
                                                                Backup - Other Incident
  Work Zone (if applicable)
        Type                                                      Workers Present                        Activity                                               Location
LOCATION




                              Prefix                 Primary Road Name                                                               Road Type                                                       Suffix                                  Divided Roadway
                              N                      US 23                                                                                                                                                                                            N
                              Distance / Direction                                                                    Trafficway
                              855 Feet NW                                                                             Divided Hwy with Barrier
                              Prefix                 Intersecting Road Name                                                          Road Type                                                       Suffix                                  Divided Roadway
                                                     CARPENTER                                                                       RD
                        Unit Number Unit Known        State Driver License Number                              Date of Birth (Age)                  License Type              Endorsements              Sex         Race       Total Occupants Hazardous Action
                         01              Yes           MI O540738044620                                             08/08/1956 (66)                      Operator                Cycle                       M          W         01                  Unable to Stop
                                                                                                                                                         Chauffeur               Farm
                                                                                                                                                         Moped                   Recreation
                        Unit Type      Driver Information                                                                                       Driver is Owner Injury             Position                                         Restraint
                         MV              RICKIE ALEN ONEIL                                                                                       No                  O              Front - Left                                        Shoulder and Lap Belt
                                         28622 CUMBERLAND DR
                                         FARMINGTON HILLS, MI 48334                          (248) 390-6656
                        Driver Condition at Time of Crash                                                                              Driver Distracted By                                           Ejected           Trapped     Airbag Deployed
                               1st                                                 2nd
                                                                                                                                        Not Distracted                                                                                  Not Deployed
                              Appeared Normal
                        Hospital                                                                                                                      Ambulance
U N I T / D R I V E R




                         OTHER                                                                                                                         HURON VALLEY AMB INC
                        Alcohol Suspected     Contributing FactorAlcohol Test Type                                                      Alcohol Test Results                                            Interlock Device
                         No                   No                       Breath     Blood               Urine                                 Pending                 Test Results:                            No
                                                                       Field      PBT                 Refused          Not Offered
                        Drug Suspected       Contributing Factor Drug Test Type                                                         Drug Test Results                                               Citation Issued
                         No                   No                       Blood      Urine                                                     Pending                 Test Results:                            Hazardous            FAILED TO STOP SAFE DISTANCE
                                                                       Field      Refused             Not Offered                                                                                            Other
                        Vehicle Registration          State    Vehicle                Year                      Make                                                           Model                                                          Color
                         3252347                        IN     Description           2023                     VOLVO                                                                                                                        WHI
                        VIN                                     Vehicle Type                                        Special Vehicles                                  Private Trailer Type                                   Vehicle Defect
                         4V4W19EG9PN616928                        Truck / Bus                                        Not Applicable
                        Automation System(s) in Vehicle       Automation System Level in Vehicle                                                                         Automation System Level Engaged at Time of Crash
                         No                                    No Automation                                                                                               No Automation
                        Insurance Company                                           Insurance Policy #                                                Towed By                                                            Towed To
                         OLD REPUBLIC INS CO                                            MWML18562                                                      SAKSTRUPS TOWING
                        Location of                  First Impact    Extent of Damage (Power Unit and/or Trailers)           Vehicle Direction     Vehicle Use                                                           Action Prior
                        Greatest Damage       02      02               Disabling Damage                                       N                      Commercial (Business)                                                Going Straight Ahead
                        Sequence of                    First                                                        Second                                                 Third                                                    Fourth
                        Events                         17 - Motor Veh in Transport
                        ( indicates MOST harmful event)

                        Passenger Information                                                                           Date of Birth (Age)           Sex       Race Position                                                           Restraint


                                                                                                                        Injury       Ejected      Trapped     Airbag Deployed
PASSENGERS




                        Hospital                                                                                                                      Ambulance


                        Passenger Information                                                                           Date of Birth (Age)           Sex       Race Position                                                           Restraint


                                                                                                                        Injury       Ejected      Trapped     Airbag Deployed


                        Hospital                                                                                                                      Ambulance



                        Carrier Information                                                                                                           USDOT                                             MC                              MPSC
TRUCK/BUS




                         YRC INC                                                                                                                       000000075806
                         10990 ROE AVE                                                                                                                Driver's CDL Type            Endorsements                  CDL Exempt
                         OVERLAND PARK, KS 66216                                                                                                       Group A                        H    P    T                   Farm
                                                                                                                                                                                      N    S    X                   Other
                        GVWR/GCWR                                                                             Vehicle Configuration                           Cargo Body Type                 Medical Card                Hazardous Material                ID #         Class #
                              10,000 lbs. or Less     10,001 - 26,000 lbs.       Greater than 26,000 lbs.       Tractor / Semi-Trailer                          1                              No                             Placard        Cargo Spill


                        Owner Information                                                                                                             Owner Information
OWNERS




                         YRC INC
                         10990 ROE AVE
                         OVER LAND PARK, KS 66216

  Damaged Property                                                                                                                     Public       Owner & Phone
                                                            Case 23-11069-CTG                                       Doc 1590                         Filed 01/04/24                                 Page 7 of 13
                        Unit Number Unit Known       State Driver License Number                           Date of Birth (Age)              License Type            Endorsements               Sex         Race      Total Occupants Hazardous Action
                         02              Yes           MI C200465429746                                     09/27/1968 (54)                      Operator              Cycle                        M       W         01                     None
                                                                                                                                                 Chauffeur             Farm
                                                                                                                                                 Moped                 Recreation
                        Unit Type      Driver Information                                                                               Driver is Owner Injury            Position                                         Restraint
                         MV              KEVIN JOHN COOK                                                                                 Yes               B               Front - Left                                     Shoulder and Lap Belt
                                         4388 JACOB RD
                                         GRASS LAKE, MI 49240                   (734) 759-7332
                        Driver Condition at Time of Crash                                                                      Driver Distracted By                                          Ejected        Trapped        Airbag Deployed
                               1st                                              2nd
                                                                                                                                 Not Distracted                                                                             Deployed - Combination
                              Appeared Normal
                        Hospital                                                                                                              Ambulance
U N I T / D R I V E R




                         NONE                                                                                                                  NONE
                        Alcohol Suspected     Contributing FactorAlcohol Test Type                                               Alcohol Test Results                                          Interlock Device
                         No                   No                       Breath     Blood           Urine                              Pending              Test Results:                             No
                                                                       Field      PBT             Refused       Not Offered
                        Drug Suspected       Contributing Factor Drug Test Type                                                  Drug Test Results                                             Citation Issued
                         No                   No                       Blood      Urine                                              Pending              Test Results:                             Hazardous
                                                                       Field      Refused         Not Offered                                                                                       Other
                        Vehicle Registration          State    Vehicle                Year                  Make                                                      Model                                                          Color
                         DDE7910                        MI Description               2014                 GMC                                                      ACADIA                                                       WHI
                        VIN                                   Vehicle Type                                  Special Vehicles                                 Private Trailer Type                                 Vehicle Defect
                         1GKKVTKD8EJ314402                     Passenger Car, SUV, Van                        Not Applicable
                        Automation System(s) in Vehicle     Automation System Level in Vehicle                                                                   Automation System Level Engaged at Time of Crash
                         No                                  No Automation                                                                                        No Automation
                        Insurance Company                                        Insurance Policy #                                           Towed By                                                        Towed To
                         AMICA MUTUAL                                              930221205T                                                  SAKSTRUPS TOWING
                        Location of                 First Impact    Extent of Damage (Power Unit and/or Trailers)    Vehicle Direction     Vehicle Use                                                       Action Prior
                        Greatest Damage       10      05             Disabling Damage                                 N                      Private                                                          Slowing/Stop on Roadway
                        Sequence of                    First                                                Second                                                Third                                                    Fourth
                        Events                         17 - Motor Veh in Transport                          17 - Motor Veh in Transport
                        ( indicates MOST harmful event)

                        Passenger Information                                                                    Date of Birth (Age)           Sex     Race Position                                                        Restraint


                                                                                                                 Injury       Ejected     Trapped     Airbag Deployed
PASSENGERS




                        Hospital                                                                                                              Ambulance


                        Passenger Information                                                                    Date of Birth (Age)           Sex     Race Position                                                        Restraint


                                                                                                                 Injury       Ejected     Trapped     Airbag Deployed


                        Hospital                                                                                                              Ambulance



                        Carrier Information                                                                                                   USDOT                                            MC                            MPSC
TRUCK/BUS




                                                                                                                                              Driver's CDL Type           Endorsements                  CDL Exempt
                                                                                                                                                                             H    P    T                   Farm
                                                                                                                                                                             N    S    X                   Other
                        GVWR/GCWR                                                                         Vehicle Configuration                       Cargo Body Type                Medical Card             Hazardous Material                  ID #   Class #
                              10,000 lbs. or Less    10,001 - 26,000 lbs.      Greater than 26,000 lbs.                                                                                                            Placard          Cargo Spill


                        Owner Information                                                                                                     Owner Information
WITNESS OWNERS




                        Witness Information                                                                                                   Witness Information




  Investigated Reported Date (Time) 1st Investigator Name (Badge)                                                                        2nd Investigator Name (Badge)                                            Photos
  at Scene Yes 04/15/2023 (10:27) CODY RAY WIGGINS (1200)                                                                                                                                                          No
  Narrative                                                                                                                                    Diagram
             Unit 1 was unable to stop in a safe distance before striking Unit 2 which struck
             Unit 3. Unit 1 driver reported head, neck, and back pain.
                                                            Case 23-11069-CTG                                             Doc 1590                           Filed 01/04/24                                  Page 8 of 13
Authority: 1949 PA 300, Sec.257.622                                                                                       External #                          Crash ID                                                        Page 02 of 02
Compliance: Required        MSP UD-10E
Penalty: $100 and/or 90 days      (Rev 11/2020)
                                                                                                                         0348459                             2862989                                                          File Class 93001

                                                                                                                                                                                                                             Incident #
STATE OF MICHIGAN TRAFFIC CRASH REPORT                                                                                                                                                                                         12305323
  ORI                                                                                       Department Name                                                                                                                  Reviewer
             MI 4701200                                                                      MSP Brighton                                                                                                                      ROBERT CARTER
  Crash Date                                          Crash Time         No. of Units    Crash Type                              Special Circumstances                                                             Special Checks
                                                                                                                                     None                     Hit and Run               School Bus                     Fatal             Non-Traffic Area          ORV/Snowmobile
             04/15/2023                                10:00              03              Rear End                                   Fleeing Police           Unknown                   Animal
  County                                                    Traffic Control                                          Relation to Roadway                          Weather                                        Area
             81 - Washtenaw                                  None                                                     On the Road                                  Cloudy                                         FRWY Curved Roadway
  City/Twsp                                                 Contributing Circumstances                                                                  Light                             Road Surface Condition                          Total Lanes      Speed Limit   Posted
                                                                   1st                                       2nd
             19 - York Twp                                                                                                                                  Daylight                          Dry                                          02               70            Yes
                                                                Backup - Other Incident
  Work Zone (if applicable)
        Type                                                      Workers Present                        Activity                                               Location
LOCATION




                              Prefix                 Primary Road Name                                                               Road Type                                                       Suffix                                  Divided Roadway
                              N                      US 23                                                                                                                                                                                            N
                              Distance / Direction                                                                    Trafficway
                              855 Feet NW                                                                             Divided Hwy with Barrier
                              Prefix                 Intersecting Road Name                                                          Road Type                                                       Suffix                                  Divided Roadway
                                                     CARPENTER                                                                       RD
                        Unit Number Unit Known        State Driver License Number                              Date of Birth (Age)                  License Type             Endorsements               Sex         Race       Total Occupants Hazardous Action
                         03              Yes           MD MD10272175921                                             12/09/1989 (33)                      Operator               Cycle                        M          W         02                  None
                                                                                                                                                         Chauffeur              Farm
                                                                                                                                                         Moped                  Recreation
                        Unit Type      Driver Information                                                                                       Driver is Owner Injury             Position                                        Restraint
                         MV              ROBERT LEE FOGLE                                                                                        Yes               O                Front - Left                                        Shoulder and Lap Belt
                                         11802 BROWNINGSVILLE RD
                                         MONROVIA, MD 21770 (240) 367-7447
                        Driver Condition at Time of Crash                                                                              Driver Distracted By                                           Ejected           Trapped    Airbag Deployed
                               1st                                                 2nd
                                                                                                                                        Not Distracted                                                                                  Not Deployed
                              Appeared Normal
                        Hospital                                                                                                                      Ambulance
U N I T / D R I V E R




                         NONE                                                                                                                          NONE
                        Alcohol Suspected     Contributing FactorAlcohol Test Type                                                      Alcohol Test Results                                            Interlock Device
                         No                   No                       Breath     Blood               Urine                                 Pending                Test Results:                             No
                                                                       Field      PBT                 Refused          Not Offered
                        Drug Suspected       Contributing Factor Drug Test Type                                                         Drug Test Results                                               Citation Issued
                         No                   No                       Blood      Urine                                                     Pending                Test Results:                             Hazardous
                                                                       Field      Refused             Not Offered                                                                                            Other
                        Vehicle Registration          State    Vehicle                Year                      Make                                                           Model                                                          Color
                         6CA2755                        MD Description               2015                     FORD                                                          F350                                                           BLU
                        VIN                                     Vehicle Type                                        Special Vehicles                                 Private Trailer Type                                    Vehicle Defect
                         1FT8W3BT5FEB09849                        Pickup Truck                                       Not Applicable                                    Farm Equipment
                        Automation System(s) in Vehicle       Automation System Level in Vehicle                                                                         Automation System Level Engaged at Time of Crash
                         No                                    No Automation                                                                                               No Automation
                        Insurance Company                                           Insurance Policy #                                                Towed By                                                            Towed To
                         TWIN CITY FIRE INS CO                                          30PH211962722514
                        Location of                  First Impact    Extent of Damage (Power Unit and/or Trailers)           Vehicle Direction     Vehicle Use                                                           Action Prior
                        Greatest Damage       11      06               Minor Damage                                           N                      Commercial (Business)                                                Slowing/Stop on Roadway
                        Sequence of                    First                                                        Second                                                 Third                                                    Fourth
                        Events                         17 - Motor Veh in Transport
                        ( indicates MOST harmful event)

                        Passenger Information                                                                           Date of Birth (Age)            Sex      Race Position                                                           Restraint
                         WALTER MARTIN GLADHILL                                                                          04/05/1963 (60)                M        W       Front - Right                                                   Shoulder and Lap Belt
                         10530 RENNER RD                                                                                Injury       Ejected      Trapped     Airbag Deployed
PASSENGERS




                         UNION BRIDGE, MD 21791                                                                           O                                     Not Deployed
                        Hospital                                                                                                                      Ambulance
                         NONE                                                                                                                          NONE
                        Passenger Information                                                                           Date of Birth (Age)            Sex      Race Position                                                           Restraint


                                                                                                                        Injury       Ejected      Trapped     Airbag Deployed


                        Hospital                                                                                                                      Ambulance



                        Carrier Information                                                                                                           USDOT                                             MC                              MPSC
TRUCK/BUS




                                                                                                                                                      Driver's CDL Type            Endorsements                  CDL Exempt
                                                                                                                                                                                      H    P    T                   Farm
                                                                                                                                                                                      N    S    X                   Other
                        GVWR/GCWR                                                                             Vehicle Configuration                           Cargo Body Type                 Medical Card                Hazardous Material                ID #         Class #
                              10,000 lbs. or Less     10,001 - 26,000 lbs.       Greater than 26,000 lbs.                                                                                                                     Placard        Cargo Spill


                        Owner Information                                                                                                             Owner Information
OWNERS




  Damaged Property                                                                                                                     Public       Owner & Phone
                                                            Case 23-11069-CTG                                       Doc 1590                        Filed 01/04/24                                  Page 9 of 13
                        Unit Number Unit Known       State Driver License Number                           Date of Birth (Age)              License Type            Endorsements               Sex      Race       Total Occupants Hazardous Action
                                                                                                                                                 Operator              Cycle
                                                                                                                                                 Chauffeur             Farm
                                                                                                                                                 Moped                 Recreation
                        Unit Type      Driver Information                                                                               Driver is Owner Injury            Position                                      Restraint




                        Driver Condition at Time of Crash                                                                      Driver Distracted By                                          Ejected     Trapped        Airbag Deployed
                               1st                                              2nd


                        Hospital                                                                                                              Ambulance
U N I T / D R I V E R




                        Alcohol Suspected     Contributing FactorAlcohol Test Type                                               Alcohol Test Results                                          Interlock Device
                                                                       Breath     Blood           Urine                              Pending              Test Results:
                                                                       Field      PBT             Refused       Not Offered
                        Drug Suspected       Contributing Factor Drug Test Type                                                  Drug Test Results                                             Citation Issued
                                                                       Blood      Urine                                              Pending              Test Results:                             Hazardous
                                                                       Field      Refused         Not Offered                                                                                       Other
                        Vehicle Registration          State    Vehicle                Year                  Make                                                      Model                                                       Color
                                                               Description

                        VIN                                   Vehicle Type                                  Special Vehicles                                 Private Trailer Type                              Vehicle Defect


                        Automation System(s) in Vehicle     Automation System Level in Vehicle                                                                   Automation System Level Engaged at Time of Crash


                        Insurance Company                                        Insurance Policy #                                           Towed By                                                     Towed To


                        Location of                 First Impact    Extent of Damage (Power Unit and/or Trailers)    Vehicle Direction     Vehicle Use                                                    Action Prior
                        Greatest Damage

                        Sequence of                    First                                                Second                                                Third                                                 Fourth
                        Events
                        ( indicates MOST harmful event)

                        Passenger Information                                                                    Date of Birth (Age)          Sex      Race Position                                                     Restraint


                                                                                                                 Injury       Ejected     Trapped     Airbag Deployed
PASSENGERS




                        Hospital                                                                                                              Ambulance


                        Passenger Information                                                                    Date of Birth (Age)          Sex      Race Position                                                     Restraint


                                                                                                                 Injury       Ejected     Trapped     Airbag Deployed


                        Hospital                                                                                                              Ambulance



                        Carrier Information                                                                                                   USDOT                                            MC                           MPSC
TRUCK/BUS




                                                                                                                                              Driver's CDL Type           Endorsements               CDL Exempt
                                                                                                                                                                             H    P    T                Farm
                                                                                                                                                                             N    S    X                Other
                        GVWR/GCWR                                                                         Vehicle Configuration                       Cargo Body Type                Medical Card          Hazardous Material                  ID #   Class #
                              10,000 lbs. or Less    10,001 - 26,000 lbs.      Greater than 26,000 lbs.                                                                                                           Placard        Cargo Spill


                        Owner Information                                                                                                     Owner Information
WITNESS OWNERS




                        Witness Information                                                                                                   Witness Information




  Investigated                           Reported Date (Time)         1st Investigator Name (Badge)                                      2nd Investigator Name (Badge)                                         Photos
  at Scene


  Narrative                                                                                                                                   Diagram
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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE:

YELLOW CORPORATION, et al,                          Chapter 11
                                                    Case No. 2:23-11069-CTG

         Debtor.                                    U.S. Holland LLC, 23-11079
                                                           Claim No. 15390
                                                    Yellow Corporation, 23-11069
                                                           Claim No. 15389
                                                    YRC, Inc., 23-11087
                                                           Claim No. 15391

                                                    (Jointly Administered)

                                                    Obj. Due: Jan. 15, 2024
                                                    Hearing Date: Jan. 22, 2024, at 2pm EST



                                 NOTICE OF MOTION

PLEASE TAKE NOTICE that on January 4, 2024, Kevin Cook (“Claimant”) filed Claimant’s
Motion for Relief from Stay (the “Motion)” in the United States Bankruptcy Court for the District
of Delaware seeking relief from the automatic stay.

PLEASE TAKE FURTHER NOTICE that pursuant to Rule 9006-1(c)(ii) any objections to the
Motion must be filed on or before January 15, 2024, with the United States Bankruptcy Court for
the District of Delaware, 3rd Floor, 824 Market Street, Wilmington Delaware 19801. At the same
time, you must serve a copy of any objection to the Motion for Relief on Movant’s undersigned
counsel on or before the Objection Deadline.

PLEASE TAKE FURTHER NOTICE that a hearing will be held on January 22, 2024 at 2:00
p.m. (ET) before Craig T. Goldblatt in the United States Bankruptcy Court for the District of
Delaware, 824 N. Market Street, 3rd Floor, Courtroom 7, Wilmington, Delaware 19801, if an
objection is filed.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF DEMANDED BY THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Date: January 4, 2024                       /s/ Madeline M. Sinkovich
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                                            Madeline M. Sinkovich P-82846 1
                                            24901 Northwestern Highway, Suite 700
                                            Southfield, Michigan 48075
                                            (248) 621-2245
                                            Madeline.sinkovich@855mikewins.com




1
 Claimant’s counsel is a Michigan attorney prosecuting claim litigation pursuant to Local Rule
9010-1(e)(iii).
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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE:

YELLOW CORPORATION, et al,                           Chapter 11
                                                           Case No. 2:23-11069-CTG

         Debtor.                                     U.S. Holland LLC, 23-11079
                                                            Claim No. 15390
                                                     Yellow Corporation, 23-11069
                                                            Claim No. 15389
                                                     YRC, Inc., 23-11087
                                                            Claim No. 15391

                                                     (Jointly Administered)




         ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY


         This matter having come before the Court on Claimant Kevin Cook’s Motion for Relief

from the Automatic Stay, the Court having considered the motion, and having found cause:

         IT IS ORDERED that the motion is granted.




                                                     _______________________
                                                     Hon. Craig T. Goldblatt
Dated: ___________
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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE:

YELLOW CORPORATION, et al,                          Chapter 11
                                                          Case No. 2:23-11069-CTG

         Debtor.                                    U.S. Holland LLC, 23-11079
                                                           Claim No. 15390
                                                    Yellow Corporation, 23-11069
                                                           Claim No. 15389
                                                    YRC, Inc., 23-11087
                                                           Claim No. 15391

                                                    (Jointly Administered)




                             CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 4th day of January 2024, I served the
following paper: “Claimant’s Motion for Relief From Stay” with
attachments to all parties of record via CM/ECF filing.

Date: January 4, 2024                       /s/ Madeline M. Sinkovich
                                            Madeline M. Sinkovich P-82846 1
                                            24901 Northwestern Highway, Suite 700
                                            Southfield, Michigan 48075
                                            (248) 621-2245
                                            Madeline.sinkovich@855mikewins.com




1
 Claimant’s counsel is a Michigan attorney prosecuting claim litigation pursuant to Local Rule
9010-1(e)(iii).
